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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION                                      FILED
                                                                                     U.S. DISTRICT C
                                                                                 EASTERN DISTRICT




                                                                            JAMES
DEVEAN BLAND                                                                By:_~~--+1-_..;;--=~~~

                        Plaintiff,

       -against-

PORTFOLIO RECOVERY ASSOCIATES, LLC                    JURY TRIAL DEMANDED
A Virginia Corporation

                        Defendant.                                                          {L/ l~
                                                      This case assigned to Di&stric udge
                                                      and to Magistrate Judge ___/~·

                                     ORIGINAL COMPLAINT                      (

             Plaintiff, Devean Bland (Bland), by her undersigned counsel brings this action against


Portfolio Recovery Associates, LLC (Portfolio), and states:


                       STATEMENT OF JURISDICTION AND VENUE


       1.       Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 and 15 U.S.C.

§1692k(d).


       2.        This action arises out of Defendant's violations of the Fair Debt Collection

Practices Act, 15 U.S.C. §1692, et seq.

        3.      The acts and events complained of in this Complaint occurred within Danville,

Yell County, Arkansas.

       4.       Venue is proper pursuant to 28 U.S.C. §1391(b)(2) because the events giving rise

to the claims occurred here, Plaintiff resides here, and Defendant transacts business here.

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                                         PARTIES TO THE CLAIM


        5.       The averments set forth in paragraphs 1-4 are adopted herein and incorporated as

if set forth word for word.


        6.       Bland is a resident of Danville, Yell County, Arkansas, and is a "consumer" as

defined by 15 U.S.C. §1692a(3), and/or "any person" as defined by 15 U.S.C. §1692d;

        7.       At the time of the incident described further herein, Portfolio was a corporation

duly authorized to conduct business in the State of Arkansas as a "debt collector /debt buyer," as

that term is defined by 15 U.S.C. §1692a(6) and is registered and licensed with the Arkansas

State Board of Collection Agencies, and attempting to collect a "debt," as defined in 15 U.S.C.

§1692a(5).

        8.       Portfolio is being served via its registered agent:

                                 Corporation Service Company
                                 300 Spring Building, Suite 900
                                 300 S. Spring Street
                                 Little Rock, AR 72201

                                     FACTUAL BACKGROUND

        9.       The averments set forth in paragraphs 1-8 are adopted herein and incorporated as

if set forth word for word.


        10.      Portfolio filed a lawsuit against Bland in the District Court of Yell County,

Arkansas on October 6, 2014 alleging a consumer debt.

        11.      The lawsuit and attached affidavit alleges Bland defaulted on a credit card

account obligation with the original creditor, GE Capital Retail Bank/Wal-Mart. A copy of that

suit is attached hereto as "Exhibit 1" and incorporated as if set forth word for word.



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        12.     Portfolio asserted it purchased and was assigned the account.

        13.     The Complaint filed by Portfolio, and the attached affidavit, reflect an amount due

of $2,005.26.

        14.     Upon information and belief, the amount charged off by the original creditor was

$1,617.

        15.     Upon information and belief, the date of default was March, 2013.

        16.     Upon information and belief, the amount claimed in the lawsuit filed by Portfolio

contains interest and late charges accrued after the default date, as well as after it was charged

off by the original creditor.

        17.     The Truth in Lending Act (TILA) regulates the type of account at issue in this

case.

        18.     TILA requires a creditor to send periodic statements to the debtor each billing

cycle if there is an outstanding balance on an account where a finance charge is imposed. 15

U.S.C. §1637(b).

        19.     That required periodic statement must contain certain required information which

describes what and how the creditor is assessing interest and finance charges.          15 U.S.C.

§1637(b).

        20.     Consistent with 15 U.S.C. §1637(b), Regulation Z also requires creditors to "mail

or deliver a periodic statement as required by (12 C.F.R.) §226.7 for each billing cycle at the

end of which an account has a debit or credit balance of more than $1 or on which a finance

charge has been imposed." Id. At 12 C.F.R. §226.5(b)(2)(i).

        21.     However, Regulation Z provides exceptions to this requirement that periodic

statements be sent and enables creditors to not send those required periodic statements if the

                                                 3
          Case 4:14-cv-00678-BRW Document 1 Filed 11/24/14 Page 4 of 18

creditor does certain things.

         22.   One of those exceptions is if the creditor has charged off the account in

accordance with loan-loss provisions and will not charge any additional fees or interest on the

account. 12 C.F.R. §226.5(b)(2)(i).

         23.   Therefore, under applicable regulations, GE Capital Retail Bank was required to

send periodic statements to Bland until it "charged-off the account in accordance with loan-loss

provisions and will not charge any additional fees or interest on the account."       12 C.F.R.

§226.S(b)(2)(i).

         24.   Previous to the alleged purchase of the account by Portfolio from GE Capital

Retail Bank, GE Capital Retail Bank charged off an account alleged to have been incurred by

Bland.

         25.   Because GE Capital Retail Bank had charged off the account, it was not required

to send periodic statements to Bland as would otherwise be required by law.

         26.   Therefore, after charging off the account, GE Capital Retail Bank did not send

any billing statements regarding the account to Bland.

         27.   GE Capital Retail Bank took advantage of the charge off exception to enable it to

not be required to send periodic billing statements.

         28.   The legal trade-off for entitling GE Capital Retail Bank to take advantage of the

charge off exception is that it was precluded by law from charging any additional fees or

interest on the account.

         29.   Therefore, after the account was written off, GE Capital Retail Bank was

precluded by law from charging additional fees or interest on the account because it had not sent

out the periodic statements.

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       30.     Portfolio professes to be in the same shoes as GE Capital Retail Bank due to its

purchase and assignment of the account.

       31.     Portfolio would not acquire any greater rights than GE Capital Retail Bank had at

the time of the alleged purchase.

       32.     By assessing interest and other charges for which there was no legal basis,

Portfolio is in violation of 15 U.S.C §1692f(l) which prohibits a debt collector from collection

of any amount (including any interest, fee, charge, or expense incidental to the principal

obligation) unless such amount is expressly authorized by the agreement creating the debt or

permitted by law.

       33.     By assessing charges, namely interest and late charges after the date of default,

which are not authorized by the agreement or law, Portfolio is in violation of 15 U.S.C.

§1692e(5) by taking action that cannot legally be taken.

       34.     The Complaint further requests costs, post-judgment interest at the "contract rate"

and for all other proper relief.

       35.     Because "costs, post-judgment interest at the contract rate and all other proper

relief' are not authorized by the agreement creating the debt, the Complaint seeks to collect

amounts not authorized by contract in violation of 15 U.S.C. §1692f(l).

       36.     By not attaching the agreement upon which it is suing, Portfolio is making a false

representation of the character, amount, or legal status of the debt in violation of 15 U.S.C.

§1692e(2)(A).

       37.     By not attaching the agreement upon which it is suing, Portfolio is engaging in

unfair or unconscionable means in its attempt to collect the alleged debt in violation of 15

u.s.c. §1692f.
                                                5
         Case 4:14-cv-00678-BRW Document 1 Filed 11/24/14 Page 6 of 18

       38.     Portfolio has attached no evidence that it purchased the debt from the original

creditor and; thus, is taking action which cannot legally be taken in violation of 15 U.S.C.

§1692e(5).

       39.     Portfolio is in violation of 15 U.S.C. §1692e(10) by making false representations

and engaging in deceptive means in attempting to collect the debt by its inability to document

any agreement between Bland and any creditor.

       40.     Upon information and belief, the original creditor was Synchrony Bank and not

GE Capital Retail Bank.

       41.     At the time it commenced the action against Bland, Portfolio possessed

insufficient evidence and intended not to further investigate in violation of 15 U.S.C.

§1692(e)(5).

       42.     Portfolio's conduct violates the FDCPA for which strict liability applies pursuant

to 15 U.S.C. §1692, et seq.

       43.     Portfolio's conduct violates the FDCPA for which statutory damages apply

pursuant to 15 U.S.C. §1692k(a)(2)(A).

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

        44.    The averments set forth in paragraphs 1-43 are adopted herein and incorporated as

if set forth word for word.


        45.    Portfolio is in violation of the following sections of the Fair Debt Collection

Practices Act as alleged above:

               a.      15 U.S.C. §1692e(2)(A): Making a false representation of the character,

amount, or legal status of any debt;



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               b.      15 U.S.C. §1692e(5): Taking action that cannot legally be taken or that is

not intended to be taken;

               c.      15 U.S.C. §1692e(10): The use of any false representation or deceptive

means to collect any debt;

               d.      15 U.S.C. §1692f: Using unfair or unconscionable means to collect or

attempt to collect any debt;

               e.      15 U.S.C. §1692f(l): The collection of any amount unless such amount is

expressly authorized by the agreement creating the debt or permitted by law.

                                           DAMAGES

       46.    The averments set forth in paragraphs 1-45 are adopted herein and incorporated as

if set forth word for word.


       4 7.    As a direct and proximate result of the occurrence made the basis of this lawsuit,

Bland is entitled to the following damages:

               a. actual costs, expenses and attorney fees pursuant to 15U.S.C§1692(k)(a)(3);
               b. statutory damages in the maximum amount of: $1,000.00 pursuant to 15 U.S.C.
§1692(k)(a)(2)(A).
               c. actual damages pursuant to 15 U.S.C. §1692k(a)(l)

                                 DEMAND FOR JURY TRIAL

       48.     The averments set forth in paragraphs 1-47 are adopted herein and incorporated as

if set forth word for word.


       49.     Bland demands a jury trial on all issues so triable.




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                                    PRAYER


WHEREFORE, Bland prays that:

1. She be granted statutory damages pursuant to the FDCP A;

2. She be granted actual damages;

3. She be granted costs and attorney fees.



                                                 Respectfully submitted,




                                                 By:~/
                                                 Todd w6oten, Esq-:=ABN 94034
                                                 WOOTEN LAW FIRM
                                                 2226 Cottondale Lane, Suite 210
                                                 Little Rock, Arkansas 722202
                                                 Telephone: (501) 218-6064
                                                 todd@wootenlaw.net

                                                 and

                                                 J.R. Andrews, Esq. ABN 92041
                                                 Attorney at Law
                                                 2014 Martha Drive
                                                 Little Rock, Arkansas 72212
                                                 Telephone: (501) 680-3634
                                                 j randrewsatty@yahoo.com



                                                 Attorneys for Plaintiff




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.   ~\                       IN THE DISTRICT COURT OF YELL COUNTY, ARKANSAS

                                                         SUMMONS
                                                    (NOTICE OF.LAWSUI'I)

    PORTFOLIO RECOVERY ASSOCIATES, LLC                                                                              PLAINTIFF

    v.                                        CASE NO.      C.\ \) dOl'-t- \i'J
    DEVEAN BLAND                                                                                                 DEFENDANT

    1HE STATE OF ARKANSAS 10 DEFENDANT:

    DEVEAN BLAND
    11595IDGHWAY154
    DANVIU..E AR 72833

    A lawsuit bas been filed agaimt you The relief demmded mstated in the attached colq)Jaint. Within 30 days
    after service ofthi; sun:m:>ns on you (not couoting the day you received it) you III.mt file with the cJerk ofthi;
    court a written amwer to the colq)Jaint or a m>ti:>n UDder Ru1e 12 ofthe Arkansas Rules of Civil Procc$re.

    The amwer or m>tion IDJSt afio be served on the plaintiff or pJaintiffs attorney, whose ll8lM and address are:

    PORTFOLIO RECOVERY ASSOCIA1ES, LLC
    JENNIFER P. SANDERS
    120 CORPORA1E BLVD
    NORFOLK, VA 23502
    1-866-428-8102

    Ifyou fail to respond within the appli::able time period, judgment by demult may be entered against you fur the
    relief deIDlllded in the conplaint.

                    CLERK OF COURT

    Address of Clerk's Office:
    YELL COUNTY - NORTHERN DISTRICT
    COUNTY COUR1HOUSE
    DARDANELLE, AR 72834

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                    COURT CLERK

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                 Case 4:14-cv-00678-BRW Document 1 Filed 11/24/14 Page 10 of 18
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      the attached signed retmn receipt

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      acknowJedgment and received the attached noti;;e and acknow1edgtrient :fi>rm within twenty days after
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15-76432




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                   Case 4:14-cv-00678-BRW Document 1 Filed 11/24/14 Page 12 of 18
                       IN THE DISTRICT COURT OF YELL COUNTY, ARKANSAS

PORTFOLIO RECOVERY ASSOCIATES, LLC                                                                           PLAINTIFF

v.
DEVEAN BLAND                                                                                               DEFENDANT

                                                      COMPLAINT

        Comes the Plaintiff and fur its cause of action against the Defendant, states:

        1.      That the Plaintiff is a corporation authoriz.ed to bring this action under Ark. Code Ann. § 4-27-
1501.

        2.      That the Defendant is a resident of YELL County, Arkansas.

        3.      Jurisdiction and venue are proper in this Cotnt.

         4.      That Defendant pmchased certain items with extensions of credit obtained on his/her GE
CAPITAL RETAIL BANK I WAL-MART account. This account was pmchased by, and assigned to the
P1aintifffur good and valuable consideration

        5.        That the amount past due on said account, which has not been paid, and has been owed fur a
period of titre is as fullows, principle amount, $2,005.26 as set out in PJaintifl's Affidavit which is attached
hereto and incorporated herein by reference.

        6.      That demand has been made fur the payment of same, yet the baJance remains unpaid.

        WHEREFORE, Plaintiff prays fur Judgment against Defendant in the amnmt of$2,005.26, ph.is all
costs herein paid and expended, fur post-judgment interest at the contract rate, and fur all other proper relief




 15-76432




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                      Case 4:14-cv-00678-BRW Document 1 Filed 11/24/14 Page 13 of 18
                                                        AFFIDAVIT

State of Virginia
City of Norfolk ss.

I, the undersigned,      Ivette M. Stephen                , Custodian of Records, for Portfolio Recovery Associates, LLC
hereby depose, affirm and state as follows:

I.      I am competent to testify to the matters contained herein.

2.      I am an authorized employee of Portfolio Recovery Associates, LLC, ("Account Assignee") which is doing
business at Riverside Commerce Center, 120 Corporate Boulevard, Norfolk, Virginia, and I am authorized to make the
statements, representations and averments herein, and do so based upon a review of the business records of the Original
Creditor GE CAPITAL RETAIL BANK/WAL-MART and those records transferred to Account Assignee from GE
CAPITAL RETAIL BANK ("Account Seller"), which have become a part of and have integrated into Account
Assignee's business records, in the ordinary course of business.

3.       According to the business records, which are maintained in the ordinary course of business, the account, and all
proceeds of the account are now owned by the Account Assignee, all of the Account Seller's interest in such account
having been sold, assigned and transferred by the Account Seller on 10/21/2013. Further, the Account Assignee has been
assigned all of the Account Seller's power and authority to do and perform all acts necessary for the settlement,
satisfaction, compromise, collection or adjustment of said account, and the Account Seller has retained no further interest
in said account or the proceeds thereof, for any purpose whatsoever.

4.        According to the records transferred to the Account Assignee from Account Seller, and maintained in the ordinary
course of business by the Account Assignee, there was due and payable from DEVEAN BLAND ("Debtor and Co-
Debtor") to the Account Seller the sum of $2,005.26 with the respect to account number ending in 7983 as of the date of
9/18/2013 with there being no known un-credited payments, counterclaims or offsets against the said debt as of the date of
the sale.

5.       According to the account records of said Account Assignee, after all known payments, counterclaims, and/or
setoffs occurring subsequent to the date of sale, Account Assignee claims the sum of $2,005.26 as due and owing as of the
date of this affidavit.

6.      Plaintiff believes that the defendant is not a minor or an incompetent individual, and declares that the Defendant is
not on active military service of the United States.

Portfolio Recovery Associates, LLC



By: ____
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           __   M_._Ste~p~h_e_n_ _ _ , Custodian of Records




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                                 This communication is from a debt collector and is an attempt to collect a debt.
                                          Any information obtained will be used for that purpose.


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                            Case 4:14-cv-00678-BRW Document 1 Filed 11/24/14 Page 14 of 18

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                                                                                                                         Results as al: Jun-11-2014 04:41:20 PM
Department of Defense Manpower Data Center
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                            Status Report
                            Pursuant to Servicemembers Civil Relief Act


Last Name: BLAND
First Name: Ql=YEA..N
Middle Name:
Active Duty Status As Of: Jun-11-~_0_14

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Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Mary M. Snavely-Dixon, Director
Department of Defense - Manpower Data Center
4800 Mark Center Drive, Suite 04E25
Arlington. VA 22350
 Case 4:14-cv-00678-BRW Document 1 Filed 11/24/14 Page 17 of 18




             •                                          BILL of SALE
                                                                                                   GE Capital



                                                PRA PLCC Fresh - October 2013

       For value received and in further consideration of the mutual covenants and conditions set forth in lhc
Forward Flow Receivables Purchase Agreement (the "Agreement"), dated as of this 11•h day of July, 2013 by
and between General Electric Capital Corporation, GE Capital Retail Bank, GEMB Lending, Inc.• Monnb't'llm
Credit Services, L.L.C. 1 RFS Holding, L.L.C., and OEM Holding, L.L.C. (collectively "Seller") and Portfolio
Recovery Associates, LLC ("Buyer'1, Seller hereby transfers, sells, conveys, grants, and delivers lo Buyer. its
successors and assigns, without recourse except as set forth in the Agreement, to the extent of its owncri;hiti. the
Re~ivablcs as set forth in the Notification Files (as defined in the Agreement), delivered by Seller to Buyer nn
October 21, 2013, and as further described· in the Agreement.

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The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. § 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the Individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA. you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service via the
"defenselink.mil" URL: http://www.defenselink.mii/faq/pis/PC09SLDR.html. If you have evidence the person was on active duty for the active duty status
date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked against you. See 50 USC App. § 521 (c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC§ 101(d) (1 ). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC § 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs}, Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC§ 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.


Certificate ID: YAT13768POF7EFO
